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  14                      UNITED STATES DISTRICT COURT
  15                     CENTRAL DISTRICT OF CALIFORNIA
  16    GOLDWATER BANK, N.A.,                Case No. 5:21-cv-00616-JWH-SPx
  17                      Plaintiff,         Discovery Document referred to Hon.
                                             Sheri Pym
  18
              v.                             NOTICE OF MOTION AND
  19
                                             PLAINTIFF’S MOTION TO COMPEL
  20    ARTUR ELIZAROV, ET AL.               SUBPOENA DUCES TECUM
  21
                                             RESPONSES FROM NON-PARTIES
                          Defendants.        RITE CARE HOSPICE, INC. ECIVIS,
  22                                         INC., AND PAEDAE, INC.
  23                                         Hearing date: October 11, 2022
  24                                         Hearing time: 10:00 AM
                                             Courtroom: Hon. Sheri Pym, Courtroom 3
  25
                                             Pre-Trial Conf.: February 3, 2023
  26                                         Trial Date: February 27, 2023
  27                                         Discovery Cut-off: October 14, 2022
  28                     NOTICE OF PLAINTIFF’S MOTION TO COMPEL
                                           -1-
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   1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
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             NOTICE IS HEREBY GIVEN that on October 11, 2022, at 10:00 AM or as
   3
       soon thereafter as the matter may be heard, in Courtroom 3 of Courtroom 3 of the
   4
   5   above entitled court, located at 3470 Twelfth Street, Riverside CA 92501, Plaintiff
   6
       Goldwater Bank, N.A. will and hereby does move pursuant to FED. R. CIV. P.
   7
   8
       45(d)(2)(B)(i), 45(g), and C.D. Cal. L.R. 45-1 to compel responses to certain

   9   Subpoenas Duces Tecum (“Subpoenas”) issued to unrepresented non-party Rite Care
  10
       Hospice, Inc.
  11
  12         This Motion is based on the Court’s “Order Denying Defendant/Counter-

  13   Claimant’s Ex Parte Application to Stay Compliance With Subpoenas But Ordering
  14
       Sequestration of Responsive Information Notice of Motion” [ECF No. 175], which
  15
  16   denied Defendant Artur Elizarov’s attempts to prevent Rite Care Hospice, Inc.’s

  17   compliance with the Subpoena while his Motion to Quash was pending, as well as
  18
       the Memorandum of Points and Authorities accompanying this Notice and Motion,
  19
  20   all documents filed in this action, arguments by counsel as may be presented at the

  21   requested hearing on this matter, and any other matter the Court wishes to consider.
  22
       This Motion is made pursuant to exception to C.D. Cal. L.R. 37 found in C.D. Cal.
  23
  24   L.R. 45-1, as Rite Care Hospice, Inc. has not complied with the Subpoena in any

  25   fashion, has not offered written objection to the Subpoena, and has not otherwise
  26
       indicated they are represented by counsel at the time of this filing.
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  28                       NOTICE OF PLAINTIFF’S MOTION TO COMPEL
                                             -2-
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   1         Dated: September 21 2022
   2
                                          Respectfully submitted,
   3
                                          WAGNER HICKS PLLC
   4
   5                                      By: /s/ Derek M. Bast
   6
                                                 Sean C. Wagner, Esq.
                                                 Derek M. Bast, Esq.
   7
   8
                                                AND

   9                                      HILBERT & SATTERLY LLP
  10
                                          By: /s/ Joseph A. LeVota
  11                                             John Forest Hilbert, Esq.
  12                                             Joseph A. LeVota, Esq.

  13                                      ATTORNEYS FOR DEFENDANT
  14                                      GOLDWATER BANK N.A.

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  28                     NOTICE OF PLAINTIFF’S MOTION TO COMPEL
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   1                            CERTIFICATE OF SERVICE
   2
             I hereby certify that I electronically filed the foregoing Plaintiff’s Notice of
   3
       Motion to Compel with the Clerk of Court using the CM/ECF system, which will
   4
   5   send notification of such filing to all registered CM/ECF users as well as to Non-
   6
       Party Rite Care Hospice, Inc. via personal service and United States Postal Service,
   7
   8
       certified mail, return receipt requested, delivery restricted to addressee at the

   9   following addresses:
  10
       Rite Care Hospice, Inc.
  11   c/o Vartan Akopyan, registered agent
  12   14144 Ventura Boulevard, Suite 260,
       Sherman Oaks, CA 91423
  13
  14         This the 21st day of September, 2022.

  15
                                              /s/ Derek M. Bast
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                                              Derek M. Bast
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  28                      NOTICE OF PLAINTIFF’S MOTION TO COMPEL
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